Posner & Cord, LLC
108 W. Timonium Road
Suite 303
Timonium, MD 21093
{410} 252-0600
(443) 578-4687 (fax)
charmeitylawyer.com

Case 1:21-cv-01738-BPG Document 2 Filed 07/13/21 Page 1 of 7

E-FILED; Garrett Circuit Court
Docket: 5/30/2021 10:19 AM; Submission: 5/30/2021 10:19 AM

IN THE CIRCUIT CoURT For GARRETT COUNTY, MARYLAND

 

 

MICHELLE K., O’BRIEN
197 Oak Street
Oakland, Maryland 21550

Plaintiff

», CaseNo, G-11-CV-21-000039

WALMART INC.
701 South Walton Boulevard
Bentonville, Arkansas 72716

SERVE:
Resident Agent
The Corporation Trust,
Incorporated
2405 York Road, Suite 201
Lutherville, Maryland 21093

 

Defendant

 

COMPLAINT
COMES NOW Plaintiff Michelle K. O’Brien, through counsel, John J.
Cord and Posner & Cord, LLC, and for causes of action, sues Defendant Walmart
Inc., and states as follows:
JURISDICTION AND VENUE
1. Venue is appropriate in Garrett County, Maryland pursuant to
Mp. Cope ANN., CTS. & JUD. PROC. § 6-201 et seq. because the incident occurred in,

Garrett County.

 
Posner & Cord, LLC
108 W. Timonium Road
Suite 303
Timonium, MD ata93
(410} 252-0600
(443) 578-4687 (fax)

Case 1:21-cv-01738-BPG Document 2 Filed 07/13/21 Page 2 of 7

THE PARTIES

2. Plaintiff Michelle K. O’Brien is a citizen and resident of Oakland
County.

3. Defendant Walmart Inc. is a business formed in Arkansas. At all
relevant times, Defendant owned and operated a store located at 13164 Garrett
Highway in Oakland, Maryland.

FACTUAL BACKGROUND

4, On or about March 1, 2019, Plaintiff Michelle O' Brien was a
business invitee at Defendant's store located at 13164 Garrett Highway in
Oakland, Maryland,

3. Ms. O'Brien's vehicle was being serviced in the automotive bay.
Ms, O'Brien had purchased groceries from the store, and was informed by an
employee that she could place them in her car.

6. While walking from her car, a Walmart employee negligently
closed the garage bay dors on Ms. O'Briéh, hitting her in the head and knocking
her to the concrete floor.

7, At all times relevant to this incident, Ms. O’Brien was a business
invitee of Defendant. As such, Defendant owed the highest duty to Ms. O’Brien to
use reasonable care to inspect and maintain the premises in a safe condition, and
to protect Ms. O’Brien from injury caused by an unreasonable risk that she,

through the exercise of ordinary care, would have not discovered on her own,

-3.

 

 

 
Posner & Cord, LLC
108 W. Timantum Road
Suite 303
Timonium, MO 21093
(410) 252-0600
(443) 578-4687 (fax)
charmcitylawyer.com

Case 1:21-cv-01738-BPG Document 2 Filed 07/13/21 Page 3 of 7

8. At all times relevant, Defendant was aware or should have been
aware that Ms. O’Brien was passing underneath the garage doors, and its
employees should not have shut those doors. Further, the doors should have had
sensors and mechanisms preventing them from closing when people were walking
beneath them.

9, Defendant had actual or constructive notice of the unsafe
condition of the store.

10. . Ms. O’Brien sustained serious and severe injuries solely as a result
of the unsafe condition and the negligence of the Walmart employee.
Consequently, she has incurred, among other things, damages that include pain,
inconvenience, embarrassment, mental anguish, costs of medical treatment and
lost wages.

11. Defendant is at fault for Ms. O'Brien’s injury and is responsible for
her injuries. Ms. O’Brien was acting in a careful and prudent matter without any
negligence contributing to her injuries.

COUNT I
NEGLIGENCE

12.‘ Plaintiff hereby incorporates by reference and realleges all
paragraphs within this Complaint as if fully set forth herein.

13. Defendant had a duty to act reasonably and use due care in the
operation of its business. At the date and time of Plaintiff's injury, Defendant,
individually and/or through its agents, servants and/or employees, breached

that duty and were negligent in the following particulars, among others:

w3x

 
Case 1:21-cv-01738-BPG Document 2 Filed 07/13/21 Page 4 of 7

a. Failing to properly monitor, supervise and maintain the
area of the injury so as to furnish to Plaintiff a safe path
free from hazards which were recognized, or should have
been recognized, by the Defendant as causing or likely to
cause serious physical harm to Plaintiff and others;

b. Failing to maintain the area in a safe condition to ensure
that the garage door would not close on Plaintiff;

c. Failing to properly train and instruct employees in safely
and properly closing garage doors;

d. Failing to properly place corrective devices to prevent the
garage door from closing on people, including mechanical
doors and motion sensors;

e. Failing to properly provide for a safe means of ingress and
egress between the store and the garage, and failure to
provide proper signage which delineates the paths;

f. Failing to warn Plaintiff of the dangerous, defective and
unsafe condition of the garage door;

g. Failing to maintain the premises owned, operated and
maintained by the Defendant in good and safe condition
for the Plaintiff and others;

h. Failing to otherwise comply with the applicable laws and
regulations of the State of Maryland and the applicable
Federal laws and regulations; and

i. Otherwise failing to exercise the degree of care required
under the circumstances.

14. As a direct result of the negligent conduct, inaction and breach of
care by Defendant, individually and through its actual and/or apparent agents,

Posner & Cord, LLC || servants, and/or employees, Plaintiff sustained the injuries, losses and damages
108 W. Timonium Road

Suite 303
ae MD 21093 || more fully described above, without any contributing negligence of the Plaintiff.
(410) 252-0600
(443) 578-4687 (fax)

~4-

 

 
Posner & Cord, LLC
108 W. Timonium Road
Suite 303
Timontum, MD 21093
(410) 252-0600
(443) 578-4687 (fax)
chanmcitylawyer.com

Case 1:21-cv-01738-BPG Document 2 Filed 07/13/21 Page 5 of7

 

 

 

‘WHEREFORE, Plaintiff Michelle K. O’Brien demands judgment against
Defendant in an amount over $75,000.00, plus costs, pre-judgment interest and

post-judgment interest, to be determined by a jury at trial.

Respectfully submitted,
POSNER & CORD, LLC

/s/ John J. Cord
John J. Cord
CPF No. 0312160144
108 W. Timonium Road,
Suite 303
Timonium, Maryland 21093
(410) 252-0600
(443) 578-4687 (fax)
jcord@charmcitylawyer.com
www.charmcitylawyer.com
Counsel for Plaintiff
Posner & Cord, LLC
108 W, Timantum Road
Suite 303
Timonium, MD 21093
(440) 252-0600
(443) 578-4687 (fax}
charmeitytawyer.com

Case 1:21-cv-01738-BPG Document 2 Filed 07/13/21 Page 6 of 7

RULE 20-201 CERTIFICATE

I certify that this filing does not contain any restricted information.

{sf John J, Cord
John J. Cord

REQUEST FOR ISSUANCE OF SUMMONS
This is an initial fling and Plaintiff requests that the Clerk issue a Writ of

summons for Defendant.

fs/ John J, Cord
John J. Cord

-6-

 
Posner & Cord, LLC
108 W. Timonium Road
Sulte 303
Timonium, MD 21093
(410} 252-0600
(443) 578-4687 (fax)

Case 1:21-cv-01738-BPG Document 2 Filed 07/13/21 Page 7 of 7

£-FILED; Garrett Circuit Court
Docket: 5/30/2021 10:19 AM; Submission: 5/30/2021 10:19 AM

In THE CIRCUIT COURT FoR GARRETT COUNTY, MARYLAND

 

 

 

MICHELLE K. O’BRIEN
Plaintiff
b. Case No. C-11-CV-21-000039
WALMART INC,
Defendant
DEMAND FOR JURY TRIAL

COMES NOW the Plaintiff, through counsel John J. Cord and Posner &
Cord, LLC; and demands a jury trial on all issues pursuant to Maryland
Rule 2-325.
Respectfully submitted,
POSNER & CORD, LLC

/s/ John J. Cord
John J. Cord
CPF No. 0312160144
108 W. Tumonium Road,
Suite 303
Timonium, Maryland 21093
(410) 252-0600
(443) 578-4687 (fax)
jcord@charmcitylawyer.com

www.charmceitylawyer.com
Counsel for Plaintiff

RULE 20-201 CERTIFICATE

I certify that this filing does not contain any restricted information.

fs/ John J. Cord
\ John J, Cord

 
